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 3
 4          Entered on Docket
         August 13, 2019
     ___________________________________________________________________
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 6
 7                              UNITED STATES BANKRUPTCY COURT
 8                                        DISTRICT OF NEVADA
 9                                                ******
                                                   )
10
      In re:                                       )  Case No.: 19-15172-abl
11                                                 )
      NATIONAL MERCHANDISING                       )  Chapter 11
12    SERVICES, LLC,                               )
                                                   )  Hearing Date: September 25, 2019
13
                Debtor.                            )  Hearing Time: 1:30 p.m.
14                                                 )
                                                   )
15
                                ORDER SCHEDULING STATUS CONFERENCE
16
               IT IS ORDERED that a status conference is scheduled for September 25, 2019 at 1:30
17
      p.m., pursuant to 11 U.S.C. § 105(d), in the Foley Federal Building and United States
18
      Courthouse, 300 Las Vegas Boulevard South, Third Floor, Courtroom #1, Las Vegas, Nevada,
19
      89101 (“Status Conference”).
20
               IT IS FURTHER ORDERED that on or before 5:00 p.m. prevailing Pacific Time on
21
      Friday, September 20, 2019 debtor shall file a status report on efforts to develop a plan of
22
      reorganization, including as estimate of when a plan will be filled, and any reason why the filing
23
      of a plan may be delayed. The status report shall include a proposed budget. The status report,
24
      including the budget, is limited to five pages.
25
               The Court may make any other orders as are appropriate and authorized under 11 U.S.C.
26
      § 105(d)(2) at the Status Conference.
27
28
      ///
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 1   Copies sent to all parties via CM/ECF Electronic Filing.
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